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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE BOEING COMPANY EMPLOYEE Civil Action No. 17-7636 (MAS) (LHG)
RETIREMENT PLANS MASTER TRUST
and THE BOEING COMPANY EMPLOYEE
SAVINGS PLANS MASTER TRUST,

Plaintiffs,

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VALEANT PHARMACEUTICALS
INTERNATIONAL, INC.; J. MICHAEL
PEARSON; HOWARD B, SCHILLER;
ROBERT L. ROSIELLO; TANYA CARRO;
and PRICEWATERHOUSECOOPERS,

 

 

Defendants.
STIPULATION AND ORDER

WHEREAS, Plaintiffs in the above-captioned action have filed a Complaint against
Valeant Pharmaceuticals International, Inc., J. Michael Pearson, Howard B. Schiller, Robert L.
Rosiello, Tanya Carro, and PricewaterhouseCoopers LLP (together, “Defendants,” and together
with Plaintiffs, the “Parties”);

WHEREAS, on October 18, 2017, the Court entered a Stipulation and Order that:

(a) All Defendants will have until October 23, 2017 to answer, move to
dismiss, or otherwise respond to the Complaint;

(b) In the event any of the Defendants move to dismiss the Complaint,
Plaintiffs will then have until December 22, 2017 to oppose any such motions to dismiss, and the
Defendants will then have until January 29, 2018 to file any replies in support of their motions to

dismiss;
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(c) Each Party shall submit omnibus briefs in support of or in opposition to
the motions filed in this case, The Public Employees’ Retirement System of Mississippi v. Valeant
Pharmaceuticals International Inc., et al., No. 17-cv-7625(MAS)(LHG), and Lord Abbett
Investment Trust vy. Valeant Pharmaceuticals International, Ine., et al... No. 17-cv-
6365(MAS)(LHG);

WHEREAS, on October 19, 2017, the Court issued an Order to Show Cause whereby all
other deadlines, briefing schedules, and discovery in this matter were immediately and
temporarily stayed, pending the Court’s decision with respect to the Order to Show Cause
directing the Parties to brief whether the Court should stay the above-captioned case;

WHEREAS, on November 29, 2017, the Court entered a Stipulation and Order that all
proceedings and discovery in the above-captioned case shall be stayed until the conclusion of the
criminal trial in United States v. T, anner, et al., Case No. 17-cr-61, or by order of the Court,
except that the Court shall consider, and the parties shall continue briefing, any motions to
dismiss in the above-captioned case;

WHEREAS, counsel for the Parties have conferred and agreed to adopt a briefing
schedule reflecting the schedule provided in the October 18, 2017 Stipulation and Order deferred
as a result of the temporary stay imposed by the October 19, 2017 Order to Show Cause.

IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of
the Parties, as follows:

(a) All Defendants will have until December 6, 2017 to answer, move to
dismiss, or otherwise respond to the Complaint;

(b) In the event any of the Defendants move to dismiss the Complaint,

Plaintiffs will then have until February 5, 2018 to oppose any such motions to dismiss, and the
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Defendants will then have until March 15, 2018 to file any replies in support of their motions to
dismiss;

(c) Each Party shall submit omnibus briefs in support of or in opposition to
the motions filed in this case, The Public Employees’ Retirement System of Mississippi v. Valeant
Pharmaceuticals International Inc., et al., No. 17-cv-7625(MAS)(LHG), and Lord Abbett
Investment Trust vy. Valeant Pharmaceuticals International, Ine., et al... No. 17-cev-
6365(MAS)(LHG).

Stipulated and agreed to by:

DATED: December 6, 2017
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Case 3:17-cv-07636-MAS-LHG Document 54 Filed 12/07/17 Page 6 of 6 PagelD: 957

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TPA
So Ordered this day
of Duo bheon 20/7.

Hon. Miche Brine USDJ

 
